                                                                                   Case 2:16-cv-06800-JFW-SS Document 57 Filed 06/30/17 Page 1 of 3 Page ID #:1076



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                                                                                                 Inc.
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                                                                                             9                           UNITED STATES DISTRICT COURT
                                                                                            10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
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              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                                 JUKIN MEDIA, INC., a California          CASE NO. 2:16-cv-06800-JFW (SSx)
                                                                                            12   corporation,
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                                                                          Hon. John F. Walter
                                                                                            13                              Plaintiff,
                                                                             310-229-9900




                                                                                            14                      v.                    JOINT REPORT RE RESULTS OF
                                                                                                                                          SETTLEMENT CONFERENCE
                                                                                            15   QWORLDSTAR, INC., a California
                                                                                                 corporation, d/b/a Worldstar,
                                                                                            16   Worldstar Hip Hop, Worldstar Candy,
                                                                                                 and/or Worldstar Agency, and DOES 1      Action Filed:    September 9, 2016
                                                                                            17   through 10,
                                                                                                                                          Trial Date:      September 26, 2017
                                                                                            18                              Defendants.
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                                                                                             1            Pursuant to the Court’s Order re Motion to Amend Scheduling Order
                                                                                             2   (Dkt. No. 43), counsel for Plaintiff Jukin Media, Inc. (“Jukin”) and Defendant
                                                                                             3   QWorldstar, Inc. (“Worldstar”) hereby submit the following Joint Report regarding
                                                                                             4   Results of Settlement Conference.
                                                                                             5            On June 27, 2017, the parties successfully mediated the present dispute
                                                                                             6   and entered into a settlement agreement and release (the “Settlement Agreement”).
                                                                                             7   Pursuant to the terms of the Settlement Agreement, Jukin will file a stipulation to
                                                                                             8   dismiss this action subject to the Court retaining jurisdiction to enforce the
                                                                                             9   settlement, on or before July 31, 2017.
                                                                                            10
                                                                                                 Dated: June 30, 2017                      VENABLE LLP
                                                                                            11
              2049 CENTURY PARK EAST, SUITE 2 300




                                                                                            12                                             By: /s/ Tamany Vinson Bentz
                                                    LOS ANG ELES, CA 90067
VENABLE LLP




                                                                                                                                              Douglas C. Emhoff
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                                                                                                                                              Tamany Vinson Bentz
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                                                                                                                                              Attorneys for Plaintiff Jukin Media,
                                                                                                                                              Inc.
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                                                                                            18   Dated: June 30, 2017                      JOHNSON & JOHNSON, LLP
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                                                                                                                                           By: /s/ Jennifer J. McGrath
                                                                                            20                                                Douglas L. Johnson
                                                                                            21
                                                                                                                                              Jennifer J. McGrath
                                                                                                                                              Robert Paredes
                                                                                            22                                                Attorneys for Defendant QWorldstar,
                                                                                            23                                                Inc.

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                                                                                                             JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
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                                                                                             1                            SIGNATURE CERTIFICATION
                                                                                             2         I am the ECF User whose identification and password are being used to file
                                                                                             3   the foregoing JOINT REPORT RE RESULTS OF SETTLEMENT
                                                                                             4   CONFERENCE. In compliance with the General Order, I hereby attest that the
                                                                                             5   other signatories to this filing have concurred in this filing.
                                                                                             6

                                                                                             7
                                                                                                 Dated: June 30, 2017                       VENABLE LLP
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                                                                                             9                                              By: /s/ Tamany Vinson Bentz
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                                                                                            11                                                 Matthew J. Busch
              2049 CENTURY PARK EAST, SUITE 2 300




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                                                                                                                                               Attorneys for Plaintiff Jukin Media,
                                                    LOS ANG ELES, CA 90067




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VENABLE LLP




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                                                                                                             JOINT REPORT RE RESULTS OF SETTLEMENT CONFERENCE
